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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
JAMAL RASHID TRULOVE, Case No. 16-cv-00050-YGR
Plaintiff, DECLARATION OF ERIC FLEMING IN
SUPPORT OF DEFENDANTS’ MOTION FOR
Vs. SUMMARY JUDGMENT
THE CITY AND COUNTY OF SAN Hearing Date: February 27, 2018
FRANCISCO, ET AL., Time: 2:00 p.m.
Place: Courtroom 1, 4th Floor
Defendants. 1301 Clay Street
Oakland, CA
Trial Date: March 5, 2018

I, Eric Fleming, declare as follows:

1. I was an Assistant District Attorney with the San Francisco District Attorney’s office. I

was assigned to the criminal prosecution of Jamal Trulove for murder after his arrest in

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2008, and handled the matter until I turned it over to ADA Linda Allen shortly before trial
in 2010.

. Imade an independent evaluation of the evidence in this case to determine whether the

evidence support the prosecution of plaintiff. I understood that there would be some
question regarding the identification procedures used in this matter, including the fact that
Priscilla Lualemaga did not initially pick out the picture of Jamal Trulove that was on the
wall of the station the night of the murder, even though she picked out Joshua Bradley. I
was also aware that Inspector Johnson had included Bradley’s photo in the lineup, and had
chosen other people who looked similar to plaintiff who also were from the neighborhood.

I reviewed the evidence, including the photos of the wall at the station, and the photos in

_ the photo array, and spoke with Ms. Lualemaga to determine whether any of the

identification procedures were so suggestive as to make them inadmissible or otherwise

unbelievable or I thought it would be unfair to use them. I determined that Ms.

_ Lualemaga’s identification was fair, lawful and competent, and with the other evidence

supported the prosecution of Trulove for murder. I also made an independent
determination that Ms. Lualemaga was telling the truth and that she had seen Trulove shoot
Kuka. I believed that there was sufficient corroboration of the identification, including Ms.
Lualemaga’s description of the shooter and the car, prior to her transport to the police

station, to make her identification legal, fair and competent.

. No officer made any specific representation to me that Ms. Lualemaga’s identification of

plaintiff was either “positive” or tentative” or misrepresented the circumstances of the
photo array. Even if an officer made such a representation, I relied on my own review of
the tape recorded identification procedure and the other evidence related to the
identification to determine that Ms. Lualemaga’ identification of Trulove supported the

murder prosecution in this case.

. Lalso reviewed the tape of the identification made by the second eyewitness, Latisha

Meadows-Dickerson. I had some concerns about presenting her testimony to a jury

because of the situation in which she provided the information, and because of some

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inconsistencies regarding timing, and the exact location where she was standing. She
provided her identification more than a year later, and I would not expect a witness reciting
events that she had observed a year before to be completely accurate about the details. I
believed, however, that her identification was fair, competent and lawful, and corroborated
the testimony of Ms. Lualemaga in key aspects, and supported the conclusion that Jamal
Trulove shot Mr. Kuka. Among other things, she provided details that lined up with those
provided by Ms. Lualemaga, including that Kuka ran into or knocked down the shooter just
before the shooting, that Kuka was shot in the back, and gave the same location and

direction of Kuka and the shooter.

. I was aware of the location of the shell casing evidence found at the scene. I had sufficient

experience with shell casings found at crime scenes to know that many factors effect where
they come to final rest. Those factors include how the shooter is holding the gun, including
the arm angle of the shooter, and the possibility that the large number of people at the scene
kicked or moved the shell casings. Nothing about this forensic evidence in this case made

me question the truthfulness of Ms. Lualemaga’s or Ms. Meadows-Dickerson’s statements.

. No officer made any representations to me regarding the evidentiary value of the shell

casing evidence. Even if any officer made some representation regarding it, I would not
have relied on any such representation, but would have made an independent evaluation to
determine whether I believed that the forensic evidence was consistent or inconsistent with
the eyewitness testimony. I also had independent knowledge from other cases regarding
the limited evidentiary value of shell casing evidence to precisely locate the shooter when
so many variables were unknown, such as in this case. However, the presence of the shell
casings at the scene corroborated the statements that the shooting occurred at that location

and that numerous shots were fired.

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7. Iwas not responsible for and did not participate in the decision to retry this case after the
court of appeal overturned the verdict based on ineffective assistance of counsel.

8. Just before the preliminary hearing in this matter, I showed Ms. Lualemaga a photo of the
pictures on the gang wall at Ingleside Station. She noticed that there was a photo of Jamal
Trulove just above or below the photo of Bradley. She expressed surprise that his photo
was on the same wall. I believed her surprise, and that she had not previously seen his
photo on the wall.

I declare under penalty of perjury under the laws of the State of California that the preceding

declaration is true and correct.

DATED: January he 2018

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